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               IN THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF GEORGIA
                        VALDOSTA DIVISION

KENNETH JOHNSON and JACQUELYN *
JOHNSON, individually, as personal
Representative of Kendrick Lamar
Johnson, and as administrators for and on
behalf of the Estate of Kendrick Lamar
Johnson,

     Plaintiffs,                              CIVIL CASE No.

v.                                            7:16-CV-00141 -WLS

BRANDON BELL, et al.,

     Defendants.



        RODNEY BRYAN, AMY BRASWELL, STEVE TURNER, DR.
       MARYANNE GAFFNEY-KRAFT, MIKE CALLAHAN, KRISTEN
      PERRY, WES HORNE, AND LINDSAY MARCHANT'S MOTION IN
       OPPOSITION TO PLAINTIFFS' MOTION FOR EXTENSION OF
       TIME TO COMPLETE AND PERFECT SERVICE OF PROCESS

     COME NOW Vernon Keenan, Rodney Bryan, Amy Braswell, Steve Turner,

Dr. Maryanne Gaffney-Kraft, Mike Callahan, Kristen Perry, Wes Horne, and

Lindsay Marchant (hereafter collectively referred to as "State Defendants"),

Defendants in the above-styled action, and respond to Plaintiffs' Motion for

Extension of Time to Complete and Perfect Service of Process ("Motion for
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Extension"). 1 Specifically, the Court should deny the Motion for Extension

because (1) Plaintiffs have failed to show "good cause" for the failure to perfect

service of process within the 90-day period prescribed in Fed. R. Civ. P. 4(m); (2)

the circumstances surrounding the instant motion do not warrant an extension of

the 90-day period; (3) Service of process was not properly perfected as to the State

Defendants prior to the State Court's Order Dismissing the State Defendants or

prior to Plaintiffs' Voluntary Dismissal of all Defendants thus there is no valid

prior action to revive; and (4) Plaintiffs failed to revive the claims against the State

Defendants within 6 months of their dismissal.

                            PROCEDURAL POSTURE

      Plaintiff originally filed suit against all Defendants on January 12, 2015 in

the Superior Court of DeKalb County. Plaintiffs original Complaint did not allege

any causes of action grounded on alleged violations of federal law. The State

Defendants' timely answered by special appearance and filed their Motion to

Dismiss along with a Motion to Transfer Venue to Lowndes County. After transfer

to Lowndes Superior Court, Plaintiffs filed their First Amendment to Complaint on

June 29, 2015 which added Five causes of action against the State Defendants only

all of which were grounded on alleged violations of Title 42 U.S.C. §§ 1983 and


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  State Defendants respond to Plaintiffs' motion without waiving, and expressly
preserving, their defenses of failure of service, failure of service of process, and
lack of personal jurisdiction.


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1985. After the State Defendants' counsel informed Plaintiffs' counsel of the State

Defendants' intent to remove the action to federal court, Plaintiffs filed Plaintiffs'

Second Amendment to Complaint on July 6, 2015. In Plaintiffs' Second

Amendment to Complaint, Plaintiffs struck the "entirety Plaintiffs fourth, fifth,

sixth, seventh and eighth causes of action as they appear in plaintiffs' first

amendment to complaint" (Plaintiffs' Second Amendment to Complaint Part 2).

(Ex A). Plaintiffs' substituted the previous federal causes of action with the same

claim only now "Pursuant to the 1983 Georgia Constitution Only" (Pl. Second Am.

To Complaint Fourth, Fifth, Sixth, Seventh, and Eighth Causes of Action).

      On October 14, 2015, Judge Porter sent an email to Plaintiffs' counsel and

counsel for the State Defendants informing the parties that he had signed the Order

Granting the State Defendants' Motion to Dismiss and mailed the signed Order to

counsel for the State Defendants to be filed. (Ex. B). On October 15, 2015, after

the dismissal order had been signed, Plaintiffs' filed their 4th amendment to the

Complaint. The state defendants filed a special appearance motion to strike 4th

amended Complaint as the action had already been dismissed. The Order Granting

the State Defendants' Motion to Dismiss was filed on October 20, 2015. (Ex. C).

Finally on March 1, 2016, when all of the remaining Defendants' respective

dispositive motions became ripe for ruling, Plaintiffs voluntarily dismissed their

2
 As many Superior Court Judges work Circuits it's not uncommon for orders to be
mailed to counsel for filing.


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claims. (Ex. D). Plaintiffs filed the instant complaint, which is purportedly a

renewed suit, on August 17, 2016. Instead of proceeding with service, Plaintiffs

waited until the very last moment (90th day) to file this instant motion. Plaintiffs'

motion is due to be denied.

              PLAINITFFS HAVE NOT SHOWN GOOD CAUSE

      Plaintiffs assert the reason for not having served Defendants is their desire to

take strategic advantage of the Fed. R. Civ. P. 15(a)(1)(A) which allows

amendment of a complaint prior to the service of Defendants' answers or other

responsive pleading. See Doc. 42, P. 2, %4. This, combined with Plaintiffs

erroneous assumption they had 120 days to serve all Defendants, is basis for

Plaintiffs' instant motion.

      Plaintiffs attempt to seek a strategic advantage of Federal Rules of Civil

Procedure while simultaneously claiming ignorance of the same rules cannot

justify the instant request. Plaintiffs have not demonstrated good cause and their

motion should be denied. See Pallman Maschinenfabrik GmbH & Co. vs.

Evergreen Composite Tech. 2009 WL 112683 (M.D. Ga. Jan.16, 2009).

                   PLAINITFF CANNOT RENEW THIS ACTION

      In addition to the Plaintiffs' failure to evidence good cause, the Plaintiff

should not be allowed additional time to serve as to do so would be futile.




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      It is also important to note that even if plaintiff were allowed additional time

for service, this would not be a proper renewal action and plaintiffs' claims are

time barred. This is a renewal action which means that Plaintiffs seeks to use

Georgia's renewal statute to toll the running of the statute of limitations. This

attempt fails as the limitations period was not tolled under Georgia law.

      As an initial matter, there is no record of any of the State Defendants being

served in the original action. Without service of the original claim, Plaintiff cannot

renew the action at all. As the original suit was void as to these Defendants

because of lack of service and so the claims against them are not subject to renewal

and cannot be recommenced or renewed. See Acree v. Knab, 180 Ga. App. 174,

175, 348 S.E.2d 716, 717 (1986).

      Further, Constitutional claims under section 1983 are subject to the statute of

limitations for personal injury actions in the forum state, here the two-year period

for such actions under Georgia law. See Wallace, 549 U.S. at 387, 127 S. Ct. at

1095; Crowe v. Donald, 528 F.3d 1290, 1292 (11th Cir. 2008); Lovett v. Ray, 327

F.3d 1181, 1182 (11th Cir. 2003); O.C.G.A. § 9-3-33. The state's tolling rules also
                                              3


apply unless inconsistent with federal policy. See Wallace, 549 U.S. at 394, 127

S. Ct. at 1098 ("We have generally referred to state law for tolling rules, just as we

3
  Plaintiffs do not argue that Georgia's renewal statute, which is the applicable
state tolling rule, is inconsistent with federal policy.



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have for the length of the statutes of limitations."); accord Thomas v. Lee, 2008

U.S. App. LEXIS 22824, **6-7 (11th Cir. Nov. 3, 2008); Mullinax v. McElhenney,

817 F.2d 711, 716 (11th Cir. 1987).

      It is undisputed that this action has been re-filed after the expiration of the

two-year statute of limitations. Plaintiffs previously dismissed and now have

attempted to re-file the action under Georgia's renewal statute, which provides in

relevant part:

             When any case has been commenced in either a state or
             federal court within the applicable statute of limitations
             and the plaintiff discontinues or dismisses the same, it
             may be recommenced in a court of this state or in a
             federal court either within the original applicable period
             of limitations or within six months after the
             discontinuance or dismissal, whichever is later . . . .

O.C.G.A. § 9-2-61(a) (emphasis added). The question is thus "when the instant

lawsuit was 'commenced' as contemplated by the renewal statute." Georgia law

provides that, in order to obtain the benefit of tolling of the statute of limitations

which is what the renewal statute is designed to provide, an action is not

"commenced" until service of process has been made and service that is perfected

after expiration of the statute of limitations will relate back to the date of filing of

the complaint only in two conditions: (i) when the plaintiff perfected service within

five days of the filing of the complaint; and (ii) when the plaintiff otherwise

diligently attempted to perfect service. See Johnson v Am. Meter Co., 412 F.



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Supp.2d 1260, 1263 (N.D. Ga. 2004) (collecting Georgia renewal cases

recognizing and applying this rule); Morris v. Haren, 52 F.3d 947, 949 (11th Cir.

1995) (applying state definition of commencement to renewal action filed in

federal court); and see also Cambridge Mut. Fire Ins. Co. v. Claxton, 720 F.2d

1230, 1233 (11th Cir. 1983); Wade v. Whalen, 232 Ga. App. 765, 765, 504 S.E.2d

456, 458 (1998) (holding that the commencement date of an action will relate back

only if the plaintiff can show "that he acted in a reasonable and diligent manner in

attempting to insure that a proper service was made as quickly as possible"),

overruled on other grounds in Giles v. State Farm Mut. Ins. Co., 330 Ga. App.

314, 320-321, 765 S.E.2d 413 (2014). In other words, if "service is perfected more

than five days after the filing of the complaint and after the statute of limitations

has run, service will relate back only if the plaintiff diligently attempted to perfect

service." Claxton, 720 F.2d at 1233; see also Morris, 52 F.3d at 949.

      Georgia cases further make clear that, in order to show diligence in

attempting service, the plaintiff must "show that he acted in a reasonable and

diligent manner" to "effectuate proper service as quickly as possible." Johnson,

412 F. Supp.2d at 1263-1264; Wade, 232 Ga. App. at 765, 504 S.E.2d at 458. In

this analysis, "[d]iligence is measured from the time of filing the renewal action,

not from the ending date of the six-month period under the renewal statute."

Johnson, 412 F. Supp.2d at 1264. "As the burden rests on the plaintiff to ensure



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diligent service, she must provide specific dates or details to show diligence and

cannot rely on conclusory statements." Zeigler v. Hambrick, 257 Ga. App. 356,

357, 571 S.E.2d 418 (2002) (affirming a finding of a lack of diligence where the

plaintiff failed to provide any evidence that she took any steps to ensure that her

renewal action was served, such as by making inquiries at the marshal's office or

by requesting a special process server).

      Plaintiffs cannot and do not show the required diligence. To the contrary,

they admit, no efforts at service were made at all. Indeed service has still not

occurred. Because this action was filed after the expiration of the two-year statute

of limitations, because service did not occur within five days of filing, and because

Plaintiffs cannot and did not show diligent efforts to effectuate service and instead

admits to the contrary they cannot avail himself of the renewal statute to toll the

two-year statute of limitations and all of his claims are time barred.4


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  Federal Rule of Civil Procedure 4(m) provides for an extension of time beyond
90 days for service of process upon a showing of good cause. But that federal
procedural rule does not allow a district court to extend or to toll the applicable
statute of limitations. See Johnson, 412 F. Supp.2d at 1265 (rejecting argument
premised on 90-day time period where service occurred outside statute of
limitations). While not relevant to the tolling analysis under the state renewal
statute, which looks only to whether the renewal action was timely filed and
whether there have been reasonable and diligent efforts at service, Plaintiffs'
affidavits did not even show good cause for an extension under Rule 4(m) because
the rule requires an "outside factor" and good cause cannot be shown with
"inadvertence or negligence." See Lepone-Dempsey v. Carroll County
Commissioners, 476 F.3d 1277, 1281 (11th Cir. 2007).



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         Plaintiffs now attempt to utilize the Federal Procedural rules to effectively

extend the statute of limitations. Plaintiffs' attempt cannot be successful as

Plaintiffs acknowledge they rely on Georgia's renewal statute to toll the applicable

statute of limitations.5

         Service is an integral part of the renewal statute because, the statute

expressly refers to and permits a discontinued or dismissed case to be

recommenced (not merely brought), which means this Court must look to Georgia

law on what constitutes commencement of an action in order to complete the

statute of limitations analysis. Here, unlike Georgia's statute of limitations which

merely calls for an action to be "brought" within a specified time, see O.C.G.A. §

9-3-33, the renewal statute expressly refers to an action being "commenced" and

then later "recommenced." O.C.G.A. § 9-2-61(a). The terms "commenced" and

"recommenced" have substantive meaning. See Acree v. Knab, 180 Ga. App. 174,

175, 348 S.E.2d 716, 717 (1986). Just as service of the original action is necessary

in order for the action to be one that "has been commenced" and thus one that is

subject to renewal under section 9-2-61, so also timely and proper service of the

renewal action is essential in order for it to qualify as one that has been

"recommenced" as that term is construed under the statute. The time for service

should not be extended because Plaintiffs' complaint is decidedly time barred.


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    It is worth noting that there is no federal renewal statute.


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                                III.   CONCLUSION

      For the foregoing reasons, the State Defendants respectfully request that

Plaintiffs' Motion be denied.

                                   Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I do hereby certify that I have this day served the within and foregoing

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MARYANNE GAFFNEY-KRAFT, MIKE CALLAHAN, KRISTEN PERRY,

WES HORNE, AND LINDSAY MARCHANT'S MOTION IN OPPOSITION

TO PLAINTIFFS' MOTION FOR EXTENSION OF TIME TO COMPLETE

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       This 28 th day of November, 2016.


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